
38 Cal. Rptr. 3d 609 (2006)
127 P.3d 27
In re R. (OSCAR).
No. S110830.
Supreme Court of California.
January 4, 2006.
Dismissed per rule 29.3(b), and remanded to Court of Appeal, Second District, Division Two.
In light of the decision in John L. v. Superior Court, (2004) 33 Cal. 4th 158, 14 Cal. Rptr. 3d 261, 91 P.3d 205, review in the above-entitled matter is dismissed. (Cal. Rules of Court, rule 29.3(b).)
GEORGE, C.J., KENNARD, BAXTER, CHIN, and MORENO, JJ., concur.
